        Case 1:20-cr-00091-JTN ECF No. 24 filed 09/18/20 PageID.49 Page 1 of 2




                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF MICHIGAN



 UNITED STATES OF AMERICA,

          Plaintiff,
                                                                     Hon. Janet T. Neff
 v.
                                                                     Case No. 1:20-cr-00091
 TERAINE TAVARIS JACKSON,

          Defendant.
 ________________________________/

                             REPORT AND RECOMMENDATION

         Pursuant to W.D.Mich. LCrR. 11.1, I conducted a plea hearing in the captioned case on

September 18, 2020, after receiving the written consent of Defendant and all counsel. At the

hearing, Defendant Teraine Tavaris Jackson entered a plea of guilty to Counts 1 and 3 of the

Indictment in exchange for the undertakings made by the government in the written plea

agreement. Count 1 charges Defendant with being a felon in possession of a firearm in violation

of 18 U.S.C. § 922(g)(l). Count 3 charges Defendant with possessing a firearm in furtherance of

drug trafficking in violation of 18 U.S.C. § 921(c)(I)(A)(i).

         On the basis of the record made at the hearing, I find that Defendant is fully capable and

competent to enter an informed plea; that the plea is made knowingly and with full understanding

of each of the rights waived by Defendant; that it is made voluntarily and free from any force,

threats, or promises, apart from the promises in the plea agreement; that the Defendant understands

the nature of the charge and penalties provided by law; and that the plea has a sufficient basis in

fact.
     Case 1:20-cr-00091-JTN ECF No. 24 filed 09/18/20 PageID.50 Page 2 of 2




        I therefore recommend that Defendant's plea of guilty to Counts 1 and 3 of the Indictment

be accepted, that the court adjudicate Defendant guilty, and that the written plea agreement be

considered for acceptance at the time of sentencing. Acceptance of the plea, adjudication of guilt,

acceptance of the plea agreement, and imposition of sentence are specifically reserved for the

district judge.

Dated: September 18, 2020                                    /s/ Sally J. Berens
                                                            SALLY J. BERENS
                                                            U.S. Magistrate Judge


        OBJECTIONS to this Report and Recommendation must be filed with the Clerk of Court

within 14 days of the date of service of this notice. 28 U.S.C. § 636(b)(1)(C). Failure to file

objections within the specified time waives the right to appeal the District Court’s order. See

Thomas v. Arn, 474 U.S. 140 (1985); United States v. Walters, 638 F.2d 947 (6th Cir. 1981).




                                                2
